                                                       Case 2:19-cv-08109-SVW-MAA Document 61 Filed 03/01/21 Page 1 of 9 Page ID #:641




                                                                         1   COLLINSON, DAEHNKE, INLOW & GRECO
                                                                         2
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                                                                         5

                                                                         6
                                                                             Attorneys for Defendant, COUNTY OF LOS ANGELES

                                                                         7

                                                                         8                         UNITED STATES DISTRICT COURT

                                                                         9          CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION

                                                                        10
                                                                             DANIEL NERSOYAN,                             CASE NO. CV19-08109 SVW (MAAx)

                                                                        11                       Plaintiff,               DEFENDANT’S OPPOSITION TO EX
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12                                                PARTE TO EXTEND TIME FOR
                                                                                          v.
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                                                          PLAINTIFF’S OPPOSITION TO
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13                                                MOTION FOR SUMMARY
                                                                             COUNTY OF LOS ANGELES, a                     JUDGMENT; DECLARATION OF
                                                                        14   county corporation; COUNTY OF LOS
                                                                             ANGELES SHERIFF’S                            LAURA E. INLOW
                                                                        15   DEPARTMENT, a public entity;
                                                                             SHERIFF JAMES MCDONNELL, in
                                                                        16   his official capacity and as an
                                                                             individual; DEPUTY KENNETH
                                                                        17   COLLINS, individually and in his             Action Filed: September 18, 2019
                                                                             official capacity as a Deputy, and           Trial Date: vacated
                                                                        18   DOES 1 through 10, inclusive
                                                                        19
                                                                                          Defendants.
                                                                        20   TO THE HONORABLE COURT, PLAINTIFF AND HIS ATTORNEY OF
                                                                        21   RECORD:
                                                                        22         Defendant COUNTY OF LOS ANGELES hereby submits this opposition to
                                                                        23
                                                                             plaintiff’s ex parte application to further extend the time for plaintiff’s opposition
                                                                        24
                                                                             to defendant’s motion for summary judgment or, in the alternative, motion for
                                                                        25

                                                                        26   partial summary judgment. (Document No. 60). As reflected herein, plaintiff’s
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                                                                        28
                                                                             ______________________________________________________________________________
                                                                                                                    -1-
                                                                                                     DEFENDANT’S OPPOSITION TO EX PARTE
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                                                                         1   motion is replete with misrepresentations, establishes no good cause, and thus the
                                                                         2
                                                                             ex parte should be denied.
                                                                         3

                                                                         4      I. THE STANDARD FOR EX PARTE RELIEF IS NOT MET

                                                                         5            An ex parte application is only appropriate where there is some genuine
                                                                         6
                                                                             urgency such that immediate and irreparable injury, loss, or damage will result to
                                                                         7

                                                                         8   the applicant before the adverse party or his attorney can be heard in opposition.

                                                                         9   Intermagnetics America, Inc. v. China Internat’l (C.D. CA 1989) 101 B.R. 191. An
                                                                        10
                                                                             ex parte proceeding is only appropriate where there is danger that notice to an
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12   opposing party will result in that parties’ flight or destruction of evidence. Franks
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                                 TORRANCE, CALIFORNIA 90503




                                                                        13   v. Delaware (1978) 438 U.S. 154; In re Intermagnetics America, Inc. v. China
                                                                        14
                                                                             Internat’l (C.D. CA 1989) 101 B.R. 191; Mission Power Engr. Co. v. Continental
                                                                        15

                                                                        16   Cas. Co. (C.D. Cal. 1995) 883 F. Supp. 488. None of these criteria are met here.
                                                                        17      II.      THE PROCEDURAL HISTORY OF THIS CASE ESTABLISHES
                                                                        18
                                                                                         PLAINTIFF’S CONSTANT DISREGARD FOR DEADLINES AND
                                                                        19

                                                                        20               THE EX PARTE CONTAINS GRAVE MISREPRESENTATIONS
                                                                        21            This case has been pending since September 18, 2019. (Document No. 1).
                                                                        22
                                                                             Defendant filed its motion to dismiss on November 29, 2019. (Document No. 18).
                                                                        23

                                                                        24   Plaintiff failed to file a timely opposition and the motion to dismiss was granted on
                                                                        25   December 30, 2019. (Document No. 27). Plaintiff was granted 21 days leave to file
                                                                        26
                                                                             a First Amended Complaint (FAC). Plaintiff filed a tardy FAC on January 24,
                                                                        27

                                                                        28   2020. (Document No. 28). Defendant filed a second Motion to Dismiss the First
                                                                             ______________________________________________________________________________
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                                                                                                      DEFENDANT’S OPPOSITION TO EX PARTE
                                                       Case 2:19-cv-08109-SVW-MAA Document 61 Filed 03/01/21 Page 3 of 9 Page ID #:643




                                                                         1   Amended Complaint (FAC). (Document No. 30). Plaintiff’s Opposition was once
                                                                         2
                                                                             again tardy. (Document No. 33). Based on a representation of plaintiff’s counsel
                                                                         3

                                                                         4   that he was ill, defendant stipulated to continue the hearing on the motion for

                                                                         5   dismiss for a month. (Document No. 35). The motion was granted in part and
                                                                         6
                                                                             denied in part and defendant answered the FAC on July 17, 2020. (Document Nos.
                                                                         7

                                                                         8   38 and 39).

                                                                         9         In its Scheduling Order of September 17, 2020, the court set the Pre-Trial
                                                                        10
                                                                             Conference for January 4, 2021 and Trial for January 12, 2021. (Document No.
                                                                        11
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                                                                        12   45). As no date were given in the Scheduling Order for expert disclosures, per the
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                                 TORRANCE, CALIFORNIA 90503




                                                                        13   FRCP, the disclosure date was October 12, 202. Defendant made a timely initial
                                                                        14
                                                                             disclosure of expert witnesses, but plaintiff did not. (Inlow Decl., ¶ 2). The date for
                                                                        15

                                                                        16   rebuttal disclosures was on November 12, 2020 and plaintiff served no rebuttal
                                                                        17   disclosure. (Inlow Decl., ¶ 3). Defendant made its initial disclosure of documents
                                                                        18
                                                                             and witnesses on October 7, 2020 but plaintiff has never made an initial disclosure
                                                                        19

                                                                        20   as required by FRCP 26(a). (Inlow Decl., ¶ 4).
                                                                        21         Even with trial set for January of 2021, Plaintiff did not serve any written
                                                                        22
                                                                             discovery until October 12, 2020 when a request for production was served.
                                                                        23

                                                                        24   Despite the patently false assertion in the ex parte, Defendant served a timely
                                                                        25   response to the request for production on November 13, 2020. (Inlow Decl., ¶ 5).
                                                                        26
                                                                                   After deposing plaintiff on October 15, 2020 and meet and confer attempts,
                                                                        27

                                                                        28   defendant filed the pending motion for summary judgment or, in the alternative,
                                                                             ______________________________________________________________________________
                                                                                                                    -3-
                                                                                                     DEFENDANT’S OPPOSITION TO EX PARTE
                                                       Case 2:19-cv-08109-SVW-MAA Document 61 Filed 03/01/21 Page 4 of 9 Page ID #:644




                                                                         1   motion for partial summary judgment on October 26, 2020. The hearing date was
                                                                         2
                                                                             November 30, 2020, just six weeks prior to trial. (Document No. 46). Plaintiff’s
                                                                         3

                                                                         4   opposition was due on November 9, 2020 but no opposition was ever filed.

                                                                         5   Defendant filed a notice of no opposition on November 12, 2020. (Document No.
                                                                         6
                                                                             48).
                                                                         7

                                                                         8          On November 2, 2020, after defendant filed the dispositive motion,

                                                                         9   plaintiff’s counsel sent an email requesting for the first time to set the depositions
                                                                        10
                                                                             of three County employees. No request was made for production of documents in
                                                                        11
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                                                                        12   this email. (Inlow Decl., ¶ 6). Defense counsel offered dates for all three
                             TEL. (424) 212-7777 | FAX (424) 212-7757
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                                 TORRANCE, CALIFORNIA 90503




                                                                        13   depositions for the week of November 16, 2020 as requested by plaintiff’s counsel.
                                                                        14
                                                                             (Inlow Decl., ¶ 7). However, as of noon on Thursday, November 12, 2020,
                                                                        15

                                                                        16   plaintiff’s counsel had never confirmed the offered deposition times by phone, by
                                                                        17   email or with any deposition notices. Defense counsel had also not been provided
                                                                        18
                                                                             with any remote deposition information. As such, defense counsel assumed the
                                                                        19

                                                                        20   depositions were off calendar and so advised the three deponents. (Inlow Decl., ¶
                                                                        21   8). At 2:49 p.m. on Thursday, November 12, 2020, plaintiff’s counsel sent an email
                                                                        22
                                                                             with notices for the three depositions beginning on Tuesday, November 17, 2020.
                                                                        23

                                                                        24   The deposition notices also requested the production of documents by the
                                                                        25   deponents. (Inlow Decl., ¶ 9). When defense counsel objected to the deficient
                                                                        26
                                                                             notices, plaintiff’s counsel requested that the depositions be taken the week of
                                                                        27

                                                                        28   December 14, 2020, less than a month before trial. (Inlow Decl., ¶ 10).
                                                                             ______________________________________________________________________________
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                                                                                                     DEFENDANT’S OPPOSITION TO EX PARTE
                                                       Case 2:19-cv-08109-SVW-MAA Document 61 Filed 03/01/21 Page 5 of 9 Page ID #:645




                                                                         1           On December 3, 2020, in response to plaintiff’s prior ex parte application
                                                                         2
                                                                             seeking additional time to oppose the motion for summary judgment, the Court
                                                                         3

                                                                         4   vacated the trial date and granted plaintiff an additional sixty (60) days to complete

                                                                         5   discovery. (Document No. 53). By that Order, plaintiff’s opposition to the motion
                                                                         6
                                                                             was due fifteen (15) days after the conclusion of discovery. (Document No. 53).
                                                                         7

                                                                         8           On December 22, 2020, the County served verified responses to the Request

                                                                         9   for Production which accompanied the deposition notice for Lt. Kimura. (Inlow
                                                                        10
                                                                             Decl., ¶ 11). Plaintiff has had all documents pertaining to Lt. Kimura as well as his
                                                                        11
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                                                                        12   declaration since October 26, 2020. (Inlow Decl., ¶ 11). When Lt. Kimura had a
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                                                                        13   family emergency in January of 2021 and could not attend his deposition set for
                                                                        14
                                                                             January 27, 20201, defense counsel stipulated to a continuance. (Documents No.
                                                                        15

                                                                        16   57 and 58).
                                                                        17           Plaintiff deposed Lt. Kimura on February 17, 2021, a date within the
                                                                        18
                                                                             stipulation agreed to by the parties and ordered by the Court. (Document No. 59).
                                                                        19

                                                                        20   Plaintiff’s opposition to the motion for summary judgment motion is due on March
                                                                        21   4, 2021, which is fifteen (15) days after the deposition was taken. Plaintiff has
                                                                        22
                                                                             apparently made no effort to obtain a rough copy or expediated copy of the
                                                                        23

                                                                        24   transcript. Inlow Decl., ¶ 12). The motion has now been pending for over four (4)
                                                                        25   months and there is no reason plaintiff’s opposition cannot be filed by March 4,
                                                                        26
                                                                             2021.
                                                                        27

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                                                                             ______________________________________________________________________________
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                                                                                                      DEFENDANT’S OPPOSITION TO EX PARTE
                                                       Case 2:19-cv-08109-SVW-MAA Document 61 Filed 03/01/21 Page 6 of 9 Page ID #:646




                                                                         1      III.    NO GOOD CAUSE EXISTS FOR THE REQUESTED RELIEF
                                                                         2
                                                                                   Plaintiff’s ex parte fails to establish good cause to further extend the time for
                                                                         3

                                                                         4   plaintiff to oppose the pending motion. In addition to the procedural outlined

                                                                         5   above, the ex parte establishes no valid no medical reason offered for the failure to
                                                                         6
                                                                             submit a timely opposition to the pending motion.
                                                                         7

                                                                         8      IV.     CONCLUSION

                                                                         9         In conclusion, Plaintiff has not demonstrated irreparable harm or prejudice,
                                                                        10
                                                                             and there is no existing crisis to warrant granting the Ex Parte petition. Once
                                                                        11
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                                                                        12   again, this is a situation exclusively of Plaintiff’s own making which does not meet
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                                                                        13   the requirement of "genuine urgency" necessary for ex parte relief. Accordingly,
                                                                        14
                                                                             this application should be denied.
                                                                        15

                                                                        16

                                                                        17   DATED: March 1, 2021          COLLINSON, DAEHNKE, INLOW & GRECO
                                                                        18
                                                                                                              By:
                                                                        19                                          /s/ Laura E. Inlow
                                                                        20                                          Laura E. Inlow, Esq.
                                                                                                                    Attorneys for Defendant
                                                                        21                                          COUNTY OF LOS ANGELES
                                                                        22

                                                                        23

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                                                                             ______________________________________________________________________________
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                                                                                                     DEFENDANT’S OPPOSITION TO EX PARTE
                                                       Case 2:19-cv-08109-SVW-MAA Document 61 Filed 03/01/21 Page 7 of 9 Page ID #:647




                                                                         1                       DECLARATION OF LAURA E. INLOW
                                                                         2
                                                                             I, Laura E. Inlow, declare as follows:
                                                                         3

                                                                         4
                                                                                   1.      I am a partner of Collinson, Daehnke, Inlow & Greco, counsel of
                                                                         5

                                                                         6   record for Defendant County of Los Angeles herein. I make the following

                                                                         7   declaration based on my own personal knowledge. I could and would competently
                                                                         8
                                                                             testify under oath to the facts stated herein.
                                                                         9
                                                                        10         2.      Defendant made a timely initial disclosure of expert witnesses, but

                                                                        11   plaintiff has not made any expert disclosures.
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12
                             TEL. (424) 212-7777 | FAX (424) 212-7757




                                                                                   3.      The date for rebuttal disclosures was on November 12, 2020 and
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13

                                                                        14   plaintiff has served no rebuttal disclosure.

                                                                        15         4.      Defendant made its initial disclosure of documents and witnesses on
                                                                        16
                                                                             October 7, 2020 but plaintiff has never made an initial disclosure as required by
                                                                        17

                                                                        18   FRCP 26(a).
                                                                        19         5.      Plaintiff did not serve any written discovery until October 12, 2020
                                                                        20
                                                                             when a request for production was served. Defendant served a timely response to
                                                                        21

                                                                        22   the request for production by mail on November 13, 2020.
                                                                        23         6.      On November 2, 2020, plaintiff’s counsel sent an email requesting for
                                                                        24
                                                                             the first time to set the depositions of three County employees. No request was
                                                                        25

                                                                        26   made for the production of documents in this email.
                                                                        27

                                                                        28
                                                                             ______________________________________________________________________________
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                                                                                                     DEFENDANT’S OPPOSITION TO EX PARTE
                                                       Case 2:19-cv-08109-SVW-MAA Document 61 Filed 03/01/21 Page 8 of 9 Page ID #:648




                                                                         1          7.       Through various emails, I offered dates for all three depositions for
                                                                         2
                                                                             the week of November 16, 2020 as requested by plaintiff’s counsel. Specifically,
                                                                         3

                                                                         4   the depositions were offered for November 17, 18 and 20 of 2020.

                                                                         5          8.       However, as of noon on Thursday, November 12, 2020, plaintiff’s
                                                                         6
                                                                             counsel had never confirmed the offered deposition times by phone, by email or
                                                                         7

                                                                         8   with any deposition notices. I had also not been provided with any remote

                                                                         9   deposition information. As such, I assumed the depositions were off calendar and
                                                                        10
                                                                             so advised the three deponents.
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12          9.       At 2:49 p.m. on Thursday, November 12, 2020, plaintiff’s counsel
                             TEL. (424) 212-7777 | FAX (424) 212-7757
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                                 TORRANCE, CALIFORNIA 90503




                                                                        13   sent an email with notices for the three depositions beginning on Tuesday,
                                                                        14
                                                                             November 17, 2020. The deposition notices also requested the production of
                                                                        15

                                                                        16   documents by the deponents. I sent an email to plaintiff’s counsel objecting to the
                                                                        17   late notices and the deficient amount of time for a production request.
                                                                        18
                                                                                    10.      When I objected to the deficient notices, plaintiff’s counsel requested
                                                                        19

                                                                        20   that the depositions be taken the week of December 14, 2020, less than a month
                                                                        21   before trial.
                                                                        22
                                                                                    11.      On December 22, 2020, the County served verified responses to the
                                                                        23

                                                                        24   Request for Production which accompanied the deposition notice for Lt. Kimura.
                                                                        25   Plaintiff has had all documents pertaining to Lt. Kimura as well as his declaration
                                                                        26
                                                                             since October 26, 2020. When Lt. Kimura had a family emergency in January of
                                                                        27

                                                                        28
                                                                             ______________________________________________________________________________
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                                                                                                       DEFENDANT’S OPPOSITION TO EX PARTE
                                                       Case 2:19-cv-08109-SVW-MAA Document 61 Filed 03/01/21 Page 9 of 9 Page ID #:649




                                                                         1   2021 and could not attend his deposition set for January 27, 20201, defense
                                                                         2
                                                                             counsel stipulated to a continuance. (Documents No. 57 and 58).
                                                                         3

                                                                         4         12.    Plaintiff deposed Lt. Kimura on February 17, 2020. The ex parte

                                                                         5   makes no mention of any efforts by plaintiff’s counsel to obtain a rough copy or an
                                                                         6
                                                                             expediated copy of the deposition transcript.
                                                                         7

                                                                         8

                                                                         9
                                                                        10
                                                                                   I declare under penalty of perjury under the laws of the United States of
                                                                        11
COLLINSON, DAEHNKE, INLOW & GRECO




                                                                        12   America that the foregoing is true and correct. Executed this 1st day of March
                             TEL. (424) 212-7777 | FAX (424) 212-7757
                              21515 HAWTHORNE BLVD., SUITE 800
                                 TORRANCE, CALIFORNIA 90503




                                                                        13   2021 in Torrance, California.
                                                                        14
                                                                                                                    Laura E. Inlow
                                                                        15                                          Laura E. Inlow
                                                                        16

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                                                                             ______________________________________________________________________________
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                                                                                                    DEFENDANT’S OPPOSITION TO EX PARTE
